Case 1:19-cv-03153-RLY-TAB Document 58 Filed 03/24/20 Page 1 of 3 PageID #: 400




                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

 LYNN STARKEY,               )
                             )
      Plaintiff,             )
                             )
      v.                     )                  Case No. 1:19-cv-03153-RLY-TAB
                             )
 ROMAN CATHOLIC ARCHDIOCESE )
 OF INDIANAPOLIS, INC. and   )
 RONCALLI HIGH SCHOOL, INC., )
                             )
      Defendants.            )

      DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS
    Defendants the Roman Catholic Archdiocese of Indianapolis, Inc., and Roncalli

 High School, Inc., by and through their attorneys, hereby move this Court pursuant

 to Federal Rule of Civil Procedure 12(c) to enter judgment on the pleadings as to all

 Plaintiff’s claims (Counts I-VI, Dkt. 1); see Dkt. 33 at 7 (Case Management Plan IV.A).
    As more fully set forth in the attached supporting brief: (1) the alleged conduct is

 not proscribed by Title VII and IX; and (2) the claims are proscribed by First

 Amendment doctrines relating to (a) religious autonomy, (b) non-entanglement in

 religious questions, and (c) freedom of association.
    In accordance with Local Rule 7-1(b)(1), this motion is accompanied by a

 supporting brief more fully setting forth the grounds of this motion. This motion is

 supported by the argument in that brief, the pleadings, attached exhibits properly

 considered under Rule 12(c), and any arguments that may be presented at any

 hearing in this matter. This motion is made in good faith and not for any improper or

 dilatory purpose.




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Case 1:19-cv-03153-RLY-TAB Document 58 Filed 03/24/20 Page 2 of 3 PageID #: 401




                                    Respectfully submitted,

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Case 1:19-cv-03153-RLY-TAB Document 58 Filed 03/24/20 Page 3 of 3 PageID #: 402




                           CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing has been served upon the following on

 March 24, 2020 by this Court’s electronic filing system:

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